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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             NORTHERN DIVISION


UNITED STATES                                                            PLAINTIFF


VS.                                  CRIMINAL ACTION NO: 3:12-cr-88-DCB-FKB
                                           CIVIL ACTION NO: 3:14-cv-892-DCB


BOOKER TARVIN                                                            DEFENDANT

                            MEMORANDUM OPINION AND ORDER

      This cause is before the Court on Motion of the Defendant,

Booker Tarvin, to Vacate, Set Aside, or Correct Sentence by a

Person in Federal Custody [docket entry no. 336] pursuant to 28

U.S.C.    §    2255.    Having      carefully   considered       said   Motion,   the

Government’s opposition thereto, applicable statutory and case law,

and being otherwise fully advised in the premises, the Court finds

and orders as follows:

                      I. Factual and Procedural Background

      On August 21, 2012, Tarvin was charged in a multi-count

indictment with Conspiracy to Possess with Intent to Distribute

Cocaine       Base    and    more    than   five     hundred    grams   of   Cocaine

Hydrochloride, Possession with Intent to Distribute Cocaine Base,

Possession with Intent to Distribute Cocaine Hydrochloride, and a

Notice of Forfeiture. Indictment, ECF No. 22. Tarvin pled guilty to

Conspiracy       to     Possess      with   Intent      to     Distribute    Cocaine

Hydrochloride         and    Cocaine    Base    On    November    19,   2012.     Plea

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Agreement, ECF No. 156. Tarvin filed this motion on November 18,

2014.

       Tarvin argues that he received ineffective assistance of

counsel. Tarvin alleges that “[d]uring the formalities of signing

[the] plea agreement” and his sentencing, the performances of his

attorneys were “not up to [s]atisfaction.” Mot. Vacate 4, ECF No.

336. As to his plea bargain, Tarvin alleges that his attorney

provided him “wrong information about important matters such as the

available defenses[] and the time [Tarvin] would get if [he] pled

guilty.” Mot. Vacate 4. As to his sentencing, Tarvin alleges that

he    was    not   interviewed     by    a       probation    officer    during   the

development of the presentence report (“PSR”) nor was he provided

any written objections to the PSR. Mot. Vacate 4. Tarvin also

alleges that his attorney never consulted with him about an appeal.

He “later found out about [the possibility of appeal] from a

friend[, and Tarvin’s a]ttorney after sentencing did not inform

[him] that [he] must file a Notice of Appeal within ten days of the

date    of    [his]   sentence.”        Mot.      Vacate     4.   Requiring   further

information, the Court ordered Tarvin’s attorney at sentencing,

Cynthia Speetjens, to submit an affidavit “contain[ing] information

related to Tarvin’s direct appeals and his claims related to his

sentencing.” Order, ECF No. 361.

                                   II. Analysis

       In    its   response   in    opposition        to     Tarvin’s   motion,   the


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Government states that Tarvin should be granted an out-of-time

appeal. Gov’t Resp. 4-5. The Fifth Circuit has held that

     even where a defendant has waived his right to direct
     appeal and collateral review[,] . . . if the petitioner
     is able to demonstrate by a preponderance of the evidence
     that he requested an appeal[ and his attorney did not
     timely file one], prejudice will be presumed and the
     petitioner will be entitled to file an out-of-time
     appeal, regardless of whether he is able to identify any
     arguably meritorious grounds for appeal that would not be
     precluded by the terms of his appeal waiver.

United States v. Tapp, 491 F.3d 263, 266 (5th Cir. 2007). Tarvin

has not alleged that his counsel did not file a requested appeal

but rather that his counsel never consulted with him about an

appeal.

     Counsel has a constitutionally imposed duty to consult
     with the defendant about an appeal when there is reason
     to think either (1) that a rational defendant would want
     to appeal (for example, because there are non-frivolous
     grounds for appeal), or (2) that this particular
     defendant reasonably demonstrated to counsel that he was
     interested in appealing. The existence of a duty to
     consult is assessed in light of all the information
     counsel knew or should have known. Whether the conviction
     followed a trial or guilty plea is highly relevant,
     although not determinative, as is whether the defendant
     waived his right to appeal and whether he received a
     sentence for which he bargained. The Supreme Court
     predicted that district courts would find a duty to
     consult in the vast majority of cases.

United States v. Cong Van Pham, 722 F.3d 320, 324 (5th Cir. 2013)

(internal   quotations    and    citations     omitted)     (finding     that

“[b]ecause counsel failed to consult with his client about an

appeal,   counsel’s   performance    was   objectively     unreasonable”).

Generally, the “better practice is for counsel routinely to consult


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with the defendant regarding the possibility of an appeal.” Roe v.

Flores-Ortega, 528 U.S. 470, 479 (2000).

     Tarvin did not put on any evidence about whether he indicated

to his attorney a desire to appeal or that his case is one where a

reasonable defendant would desire to appeal. In her affidavit,

Speetjens states that Tarvin “did not object to [her] strategy [at

sentencing]. He did not request that [she] appeal the enhancements,

nor would it have been a rational decision to do so.” Resp. Ex. 1

(“Speetjens Aff.”) ¶11, ECF No. 362-1. She further states that she

     did not believe [Tarvin] had any non-frivolous grounds
     for an appeal, and he had signed a knowing and voluntary
     appeal waiver. While [she] did not, in fact, advise him
     specifically that he could file an appeal . . . , [she]
     had discussed with him that he had no grounds to do so .
     . . It is [her] opinion that no rational defendant,
     therefore, would have wished to appeal, and [Tarvin] did
     not direct [her] to do so.

Speetjens Aff. ¶13.

     The Court is skeptical that Tarvin has satisfied his burden to

merit an out-of-time-appeal, but because the Government argues in

its favor, the Court will grant it out of an abundance of caution.

Because the Court has granted an out-of-time-appeal, Tarvin’s

remaining claims for ineffective assistance of counsel are denied

without prejudice as premature. See United States v. West, 240 F.3d

456, 460 (5th Cir. 2001). Tarvin will be able to reassert them

after his appeal has concluded.

                               III. Order

     IT IS HEREBY ORDERED that the Defendant’s Motion to Vacate,

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Set Aside, or Correct Sentence by a person in Federal Custody

pursuant to 28 U.S.C. § 2255 is DENIED WITHOUT PREJUDICE AS

PREMATURE.

     FURTHER ORDERED that the U.S. District Clerk shall RE-ENTER

the judgment as to Booker Tarvin in criminal no. 3:12-cr-88(1).

     FURTHER ORDERED that the Defendant shall have fourteen (14)

days after the re-entry of the criminal judgment to file his notice

of appeal. See Fed. R. App. P. 4(b)(1)(A). The Court notes that it

has already appointed attorney Cynthia Speetjens to assist him with

his appeal.

     FURTHER ORDERED that the hearing previously set in this matter

is cancelled and the Motion to Continue Hearing is DENIED as MOOT.



     SO ORDERED this the 25th day of September 2015.


                                        /s/ David Bramlette
                                       UNITED STATES DISTRICT JUDGE




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